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          FACEBOOK EXHIBIT S

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                           MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  HON. JACQUELINE SCOTT CORLEY
                                           COURTROOM 4 – 17TH FLOOR
ALL ACTIONS                                SPECIAL MASTER, DANIEL GARRIE, ESQ.

                                           SUPPLMENTAL ORDER REGARDING
                                           PRODUCTION OF ADI RELATED
                                           DOCUMENTS




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                                        BACKGROUND

        1.     On September 8, 2021, Judge Corley issued an order granting Plaintiffs’ motion

to compel the production of materials in connection with Facebook’s app developer investigation

(“ADI”) that involved a review of all “apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014.” See https://about.fb.com/news/2019/09/an-up-

date-on-our-app-developer-investigation/.

        2.     Pursuant to the order:

               In light of Facebook’s unchallenged public proclamations as to the business
               purpose of the ADI, the Court finds that the ADI served a dual purpose and
               that, as a general matter, documents generated as part of that investigation
               were not created because of litigation. On or before September 21, 2021, Fa-
               cebook shall produce the background and technical reports, audits and devel-
               oper interviews of the six exemplar apps chosen by the parties as Facebook
               has offered no special reasons why those particular documents are privileged
               other than what has been addressed. The parties shall work with the Special
               Master regarding production of additional materials consistent with the guid-
               ance offered by this Order. See Order Granting Motion to Compel ADI Mate-
               rials.

        3.     According to Judge Corley’s order, Facebook produced 11 documents related to

the ADI. Following this production, Plaintiffs raised multiple issues in connection with Face-

book’s ADI production and requested “all memoranda prepared by                       and/or

          related to ADI of all apps it investigated or investigated at Facebook’s direction, the

background and technical reports, audits, and developer interviews, and internal Facebook com-

munications regarding these materials (including those pertaining to the six exemplar apps).” See

Plaintiffs’ Email of September 24, 2021.

        4.     The parties subsequently met and conferred regarding Facebook’s ADI produc-

tion, but were unable to resolve the outstanding issues.




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        5.     On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding

ADI Issues which ordered the parties to provide summaries of the outstanding ADI issues and

the parties’ respective positions.

        6.     On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue

that pursuant to Judge Corley’s order, Facebook should produce the following in connection with

the ADI: (1) all memoranda prepared by                    or                 ; (2) all background

reports, technical reports, audits, and developer interviews; (3) all internal Facebook communica-

tions relating to items 1 and 2; (4) all communications with                 or

related to items 1 and 2; and (5) all communications with third-party app developers. See Plain-

tiffs’ Statement Concerning ADI Issues in Advance of Hearing. Plaintiffs also argued that Face-

book’s production of 11 reports relating to the six exemplar apps pursuant to Judge Corley’s or-

der was incomplete because Facebook’s privilege logs include references to additional reports

relating to these apps that were not provided. Id.

        7.     On October 22, 2021, Facebook submitted its initial statement. Facebook argues,

among other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2)

the five categories of ADI-related documents Plaintiffs request go beyond the scope of Judge

Corley’s order. See Facebook’s Supplemental Submission Re: ADI.

        8.     On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among

other things that (1) Facebook should produce additional reports regarding the six exemplar apps

because additional reports were identified in Facebook’s privilege logs; and (2) Facebook failed

to show how the five categories of ADI-related documents Plaintiffs request are not “consistent

with the guidance offered by” Judge Corley’s order. See Plaintiffs’ Response Re: ADI.




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        9.     On November 4, 2021, Facebook submitted its response. Facebook argues, among

other things that (1) Facebook’s production pursuant to Judge Corley’s order is complete; (2)

Plaintiffs’ requests for all reports and memoranda for all apps or developers investigated in

phases two or three of the ADI and beyond the scope of Judge Corley’s order; and (3) there is no

basis for Plaintiffs to request ADI related communications because Judge Corley previously re-

viewed these communications in camera and did not order the production of such communica-

tions. See Facebook’s Response Re: ADI.

        10.    A hearing was held on December 4, 2021, regarding the parties’ submissions and

other information related to the ADI issues.

        11.    On December 8, 2021, Special Master Garrie issued an Order Regarding the Pro-

duction of ADI Documents.

        12.    On December 15, 2021, Facebook submitted a Motion for Reconsideration of

Special Master’s Order Regarding the Production of ADI Documents.

        13.    On December 22, 2021, Special Master Garrie issued an Amended Order Regard-

ing the Production of ADI Documents which required Facebook to provide to Special Master

Garrie for in camera review, all ADI related communications pertaining to the six exemplar ap-

plications.

        14.    Facebook subsequently provided to Special Master Garrie over 6,000 documents

comprising the ADI related communications pertaining to the six exemplar applications.

                                           FINDINGS

        15.    Special Master Garrie finds that, pursuant to Judge Corley’s Order Granting Mo-

tion to Compel ADI Materials, documents prepared in connection with the ADI are not protected

from discovery as attorney work product because the documents served a business purpose separate

from litigation. See Order Granting Motion to Compel ADI Materials, at 5 (“In light of Facebook’s

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own statements, the Court finds that Facebook would have conducted the ADI in substantially the

same form even in the absence of potential litigation; that is, that Facebook did not initiate the ADI

because of the prospect of litigation. See Phoenix Techs. Ltd. v. VMware, Inc., 195 F. Supp. 3d 1096,

1105 (N.D. Cal. 2016) (holding that dual purpose documents were not protected work product be-

cause they served a business purpose independent of litigation).”)

         16.     Accordingly, all ADI related documents, including communications where

attorneys were listed as direct recipients or were listed as copied (i.e. cc’d) are discoverable

except for ADI related documents created for the sole and specific purpose of obtaining legal

advice from attorneys. See United States v. Chevron Texaco Corp., 241 F. Supp. 2d 1065, 1076

(N.D. Cal. 2002) (“The mere fact that outside counsel was copied with the email will not shield

communications not made for the purpose of securing legal advice.”).

         17.     After reviewing a substantial portion of the 6,000+ documents pertaining to the

six exemplar apps that Facebook provided, Special Master Garrie finds that a substantial number

of the documents are relevant to the case and not protected by privilege. See e.g. FB-ADI-IN-

CAMERA-0000000098.msg; FB-ADI-INCAMERA-0000000005.msg; FB-ADI-INCAMERA-

0000000084.msg; FB-ADI-INCAMERA-0000000854.pptx; FB-ADI-INCAMERA-

0000000262.pdf; FB-ADI-INCAMERA-0000000126.xlsx.1

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  These files are referenced by the file names provided in Facebook’s submission of the 6,000+ communications and
related documents pertaining to the six exemplar apps.


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                                             ORDER

        18.    Facebook is to produce all documents relating to the ADI, including communica-

tions that include attorneys as listed recipients or cc’d except for documents created for the sole

and specific purpose of obtaining legal advice from attorneys.


       IT IS SO ORDERED.



       January 10, 2022                               ______________________________
                                                      Daniel Garrie
                                                      Discovery Special Master




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